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 1                               UNITED STATES DISTRICT COURT
 2
                                         DISTRICT OF NEVADA
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 5
 6     PAUL PONOMARENKO,

 7                      Plaintiff,                      Case No. 2:18-cv-00216-RFB-CWH
 8
       v.                                                                    ORDER
 9
10
       NATHAN SHAPIRO, et al.,
11
12                     Defendants.

13   ________________________________________________

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15           This matter is before the Court on Plaintiff’s Motion for Extension of Time (ECF No. 111)
16    and Motion for Pro Se Litigant to File Electronically (ECF No. 112), both filed May 4, 2018.
17           Pursuant to LR IC 1-1, the ability to file electronically is reserved for authorized parties
18    that have been issued a login and password to file documents on the Court’s electronic filing
19    system (“CM/ECF”). Plaintiff requests that the Court allow him to use the Court’s CM/ECF system
20    in order to file, access, and electronically serve documents in this case. After careful review of
21    Plaintiff’s explanation for why access is necessary, the Court finds good cause for allowing
22    Plaintiff to use CM/ECF.
23           Based on the foregoing and good cause appearing therefore,
24           IT IS HEREBY ORDERED that Plaintiff’s Motion for Pro Se Litigant to File
25    Electronically (ECF No. 112) is GRANTED. Plaintiff must comply with the following procedures
26    in order to activate his CM/ECF account:
27               1. On or before Friday, May 25, 2018, Plaintiff shall provide certification that he
28                   has completed the CM/ECF tutorial and is familiar with Electronic Filing
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 1                    Procedures, Best Practices, and the Civil & Criminal Events Menu that are
 2                    accessible on this court’s website, www.nvd.uscourts.gov.
 3                2. Plaintiff is not authorized to file electronically until said certification is filed with
 4                    the Court within the time frame specified.
 5                3. Upon timely filing of the certification, Plaintiff shall contact Robert Johnson at
 6                    the CM/ECF Help Desk at (702) 464-5555 to set up a CM/ECF account.
 7            Once Plaintiff is a registered filer with the Court, he must provide an email address at which
 8    he will receive CM/ECF notifications.
 9            IT IS FURTHER ORDERED that Defendants serve any previously filed documents upon
10    Plaintiff once he is a registered filer.
11            IT IS FURTHER ORDERED that Plaintiff’s Motion for Extension of Time (ECF No.
12    111) is GRANTED. Counsel located out-of-state has sixty (60) days from the date of entry of this
13    order to locate local counsel and otherwise comply with the requirements of LR IA 11-2.
14
15            DATED this 18th day of May, 2018.
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17                                                            ____________________________________
                                                              RICHARD F. BOULWARE, II
18                                                            UNITED STATES DISTRICT JUDGE
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